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          EXHIBIT 2 –
    Leo v. Lowe, Defendant’s
     Amended Response and
       Counter Petitioner
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                        IN THE DISTRICT COURT OF GARVIN COUI.-Jtl"'oF OKLAHOMA t
                                   STATE OF OKLAHOMA         GARVIN COUNTY     f ss.
                                                                                      FILED

          CARRIE M. LEO,                                   )
                                                           )
                                                                                  ..2!t~~-
                                                                                    LAU!!E; Court Clerk
                                                                                 ff.--it~l--\c:----_DEPUTV
                                      Plaintiff,           )
                                                           )      Case No.:      CJ-2019-89
          vs.                                              )
                                                           )
          JEFFREY L. LOWE and                              )
          LAUREN F. LOWE,                                  )
                                                           )
                                      Defendants.          )

                DEFENDANT'S AMENDED RESPONSE AND COUNTER PETITIONER

                  Come now, Jeffrey L. Lowe and Lauren F. Lowe, by and through their attorney of
          record, Robert T. Rennie, Jr., and submit the following as their Response to the Petition on
          file herein.

                 1.     The Defendants admit the allegations contained in paragraphs numbered 1,
                        6, 7, 15, 21 and 22 of the Petition on file herein.

                 2.     The Defendants are without sufficient knowledge to admit or deny and
                        allegations contained in paragraphs numbered 4, all paragraphs number the
                        Background portion of the Plaintiffs Petitioner, paragraphs numbered 10, 11,
                        12, 14, 16, 18, 19, 23, 33, 34 and 38, of the Petition on file herein.

                 3.     The Defendants deny the allegations contained in paragraphs numbered 2, 3,
                        4,5,8,9, 13, 17,20,24,25,26,27,28,29,30,31,32,35,36,37,39,40,41,
                        42, 43, 44, 45, 46, and 47 of the Petition on file herein and demands strict
                        proof of the same.

                 4.     Upon further review of the Plaintiffs list of animals which are the subject to
                        this action, the Defendant does not have possession of those animals.

                 5.     The Defendants have been forced to retain counsel to represent them in this
                        action and request this Court to award them attorney fees and costs of this
                        action.
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               6.    The Defendants deny that they have any personal liability to the Plaintiff and
                      that Joe Maldonado-Passage had the authority to act on their behalf.


           Wherefore~ premises considered, the Defendants pray the Plaintiff talce nothing by
    way of her Petition on file herein, enter and order requiring the Plaintiff to pay Plaintiffs~
    attorney fees and costs of this action and for such other and further reliefas the Court deems
    equitable and proper.                                                          ~

                                                               ~
                                                               ;bert 7     -           -~
                                                                     T. Rennie, Jr., OBA #7507
                                                               Attorney for Defendants
                                                               118 North Chickasaw
                                                               Pauls Valley, Oklahoma 73075
                                                               Telephone: (405) 238-751 l
                                                               Facsimile: (405) 238-6339




                                           VERIFICATION


    STATE OF OKLAHOMA )
                                          ss.
    COUNTY OF GARVIN               ~
               Jeffrey L. Lowe and Lauren F. Lowe, of lawful age, being first duly sworn, state:


               That they are the Defendants above named; that we have read the above and foregoing
    Respondent and Counter Claim and know the contents thereof, and that the statements,
    allegations and facts therein set forth are true and correct to the best of our informatio~
    knowledge and belief.




                                                               Lauren F. Lowe
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 '.-...



                                Subscribed and sworn to before me this /5-,v-day of -so.nL((Lll[ , 202_1_.




                      1111111111 ,,                                        Notary Public
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               "          is to certify that on the date of filing, I mailed a true and correct copy of the
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               above foregoing document to Carrie M. Leo, Plaintiff, at 3199 Walworth Road, Walworth,
               New York, 14568, with proper postage fully prepaid thereon.

                                                                                  ,~A~
                                                                                 Robert T. Rennie, Jr.
